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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,          )
                                    )
                Plaintiffs,         )
                                    )
          v.                        )                 4:06CR3023
                                    )
SHAWN TULL,                         )
                                    )
                Defendant.          )                    ORDER
                                    )


     IT IS ORDERED:

     Defendant Tull’s motion to continue trial, filing 49, is
denied.

     DATED this 19th day of October, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
